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                            Exhibit 2




                                                                               Exhibit 2
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    1
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        ETHAN JACOBS LAW CORPORATION
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        San Francisco CA 94111
   4    Telephone: (415) 275-0845
    5 Attorney for Third Party
      THOMAS LEHiviAN
    6
    7
    8                            UNITED STATES DISTRICT COURT

    9                           CENTRAL DISTRICT OF CALIFORNIA

   10
   11   YUGA LABS, INC.,                                Case No.: 2:22-cv-04355-JFW-JEM

   12                      Plaintiff,                   DECLARATION OF THOMAS
                                                        LEHMAN
   13         vs.
   14   RYDER RIPPS, JEREMY CAHEN,
                                                        Honorable John F. Walter
   15                      Defendants.

   16
   17         I, Thomas Lehman, declare:

   18         I.        I make this declaration based on my own personal knowledge. If
   19   called as a witness, I could and would testify competently to the facts set forth here.
  20          2.        I am a freelance programmer and entrepreneur. I am the co-founder
  21    and CEO of an American digital media company and owner of various NFTs.

  22    I.    BACKGROUND ON THE RR/BAYC BUSINESS

  23          3.        I participated in a business venture with Ryder Ripps ("Ripps") and
  24    Jeremy Cahen ("Cahen" and collectively with Ripps "Defendants"), as well as
                   ,·

  25    Ryan Hickman ("Hickman"), to commercialize the Ethereum blockchain smart
  26    contract 0x.EE969B688442C2d5843Ad75f9117b3ab04b14960 (the "RSVP
  27    Contract"), the rrbayc.com website, and the apemarket.com website (rrbayc.com
  28    and apemarket.com are collectively the "Websites"). Defendants, Hickman, and I

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    1 collectively engaged in the creation and commercialization of the Websites and the
   2 RSVP Contract along with the sale ofNFTs (the "RR/BAYC NFTs") (the
   3 "Business Venture"). On occasion, I used the term the "average joe" to refer to
   4 typical consumers ofNFTs on NFT marketplaces.
   5         4.     In or around May 2022, Cahen called and asked me to participate in
   6 the Business Venture.
   7          5.    As part of the Business Venture, Defendants, Hickman, and I used the
   g RSVP Contract and the Websites to promote and sell RR/BAYC NFTs, which
   9 Ripps designed and/or caused to point to the same images as the authentic BAYC
  10 NFTs made by Yuga Labs. We also used social media accounts, primarily on
  11   Twitter, to promote RR/BAYC NFTs and Ape Market.
  12          6.    Many of our communications about these and related activities
  13   occurred on the "Team ApeMarket" Discord chat and "RRBAYC" Telegram chat.
  14   Other communications occurred via telephone, text message, email, and other social
  15   media platforms.
  16         7.     Ripps oversaw the Business Venture, by, in part, providing guidance
  17   and input on the design for the Websites, which Hickman and I were working on in
  18   addition to the code. Cahen functioned, in part, as a project manager to the
  19 Business Venture. Hickman and I also provided input to Defendants on the
  20   commercialization of the Business Venture, including some actions we might take
  21   to increase our profit.
  22          8.    Before I joined the Business Venture, Ripps had created the Ethereum
  23   blockchain smart contract 0x2ee6afildff3alce3f7e3414c52c48fd50d73691e, which
  24 hosts the RR/BAYC NFTs ("RR/BAYC Contract"). Ripps had already begun
  25   calling these NFTs "RR/BAYC" NFTs. In the RR/BAYC Contract, the return
  26 value of the name() function is "Bored Ape Yacht Club" and the return value of the
  27   symbol() function is "BAYC." The return values of these functions were
  28   determined by values that Ripps typed when creating the RR/BAYC Contract.

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    1 II.    THE PURPOSE OF THE BUSINESS VENTURE
   2         9.    One of the reasons I joined the Business Venture was for the purpose
   3 of making money. The pitch when I joined was to enable the minting of RR/BAYC
   4 NFTs and to help develop an NFT marketplace.
   5         10.   Based on my discussions with Defendants, I understood they also
   6 expected the Business Venture to make money. I understand that Ripps acquired
   7 the domain apemarket.com before I joined the Business Venture, and when I joined
    8 the Business Venture I understood the plan was to build an NFT marketplace.
   9 When, or after, I joined the Business Venture, I learned that Defendants planned to
  1o use the RR/BA YC NFTs to help launch Ape Market.
  11         11.   I understood, based on more than a few conversations with
  12 Defendants, that the Business Venture was expected to make money by selling
  13 RR/BAYC NFTs and by potentially generating transaction fees from the sale of
  14 NFTs on Ape Market.
  15         12.   When Defendants asked me to assist with the Business Venture, they
  16 told me that I could make a lot of money if the Business Venture pursued a plan to
  17   entice BAYC NFT holders to use Ape Market by allowing them to resell their Yuga
  18 Labs NFTs on Ape Market by having lower fees than on other NFT marketplaces.
  19 My expectation was that Defendants would have launched Ape Market had Yuga
  20 Labs not sued Defendants.
  21         13.   Cahen also repeatedly discussed listing Yuga Labs' actual/original
  22   BAYC NFTs on Ape Market as a way to ensure that the Business Venture
  23   generated greater profits from the sale of the RR/BA YC NFTs, which would have
  24   been required to list NFTs on Ape Market at fees lower than other marketplaces.
  25         14.   I bought a number ofRR/BAYC NFTs in the hope that they would
  26   increase in value. I was aware of Cahen and others doing the same.
  27         15.   When we discussed "cutting Yuga to O," we meant that consumers
  28   could use Ape Market to sell authentic Yuga Labs BAYC NFTs and the Business

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    1 Venture would set the percentage of the sale price (known as a royalty or creator
   2    fee) at 0%. This could net us millions of dollars in the Business Venture by
    3   attracting BAYC holders and traders to Ape Market.
    4         16.    Before the lawsuit was filed, Hickman wrote in the Team ApeMarket
    5   Discord chat "We're closing in on *$10 million impact to yuga."
   6          17.    I wrote in the Team ApeMarket Discord that "But yes, I guess
   7    RR/BAYC is low effort art/ scam." In a Twitter direct message to a friend, I wrote
    8   "I guess Ryder <loin the full on scammer larp haha."
   9 III.     DEFENDANTS USED YUGA LABS' MARKS
  10          18.    The Business Venture used Yuga Labs' BAYC Marks (BORED APE
  11    YACHT CLUB, BAYC, BORED APE, APE, BA YC Logo, BA YC BORED APE
  12    YACHT CLUB Logo, and Ape Skull Logo), including in the name RR/BAYC, on
  13    rrbayc.com and apemarket.com, on Foundation, on OpenSea, and elsewhere. This
  14    use was intentional.
  15          19.    Without Yuga Labs' widespread reputation and branding, the Business
  16    Venture would not have made money.
  17          20.   I was concerned that Defendants' uses of Yuga Labs' BAYC marks in
  18    the Business Venture would result in a lawsuit by Yuga Labs.
  19          21.   I repeatedly shared my concerns with Defendants. For example:
  20                 a.    I (and others) voiced concerns to Defendants that selling
  21    RR/BAYC NFTs alongside Yuga Labs' BAYC NFTs on Ape Market could cause
  22    confusion between RR/BAYC NFTs and BAYC NFTs.
  23                b.     I warned Defendants that using the "BAYC" mark alongside the
  24    RR/BAYC NFTs could be confusing on Ape Market.
  25                 c.    I warned that ''we should not under-estimate how confusing"
  26    using the BAYC logo alongside the RR/BAYC logo on Ape Market is.

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  28

        DECLARATION OF THOMAS LEHMAN             4             CASE NO. 2:22-CV-04355-JFW-JEM
                                                                                         Exhibit 2
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    1                d.     I warned that if we did not take action to distinguish the
   2    RR/BAYC NFTs and the BAYC NFTs and the logos for each on Ape Market, the
   3 "average joe" would be confused on Ape Market.
   4                 e.     I also expressed my concern to Defendants that the fact that the
   5 token IDs of the RR/BAYC tokens did not match the names of the RR/BA YC
   6 NFTs, and instead the RR/BAYC name matched the name of the original BAYC
   7 NFT, would cause confusion.
   8                 f.     I recommended that it was not worth fighting trademark issues
   9    over rrbayc.com and that we were migrating off of it to Ape Market, and I advised
  1o that Ape Market should use a new logo and maybe change the display name of the
  11    RR/BAYC NFTs on Ape Market.
  12          22.    On at least one occasion, Defendant Cahen affirmatively agreed with
  13    the concern about underestimating how confusing it would be to use the BAYC
  14    logo alongside the RR/BAYC logo on Ape Market.
  15          23.    To address the concerns I raised with Defendants, I suggested to
  16    Defendants to use less of Yuga Labs' trademarks or take other steps to distinguish
  17 the BAYC NFTs from the RR/BA YC NFTs on Ape Market. For example, to add a
  18    label or other similar sign to the BAYC images of RR/BAYC NFTs in order to
  19    differentiate between the RR/BAYC NFTs and BAYC NFTs on Ape Market.
  20          24.    Defendants did not respond to my communications raising these
  21    concerns by telling me to implement the proposals I made to address them.
  22          25.    I believed that purchasers ofRR/BAYC NFTs on Foundation.app
  23    might think they were buying authentic BAYC NFTs if they did not conduct further
  24    research (e.g., inspect the identity of the creator of the collection on one of the
  25    pages corresponding to a token of the collection), as there was not the same
  26    disclaimer as on the rrbayc.com website.
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         DECLARATION OF THOMAS LEHMAN               5              CASE NO. 2:22-CV-04355-JFW-JEM
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                                                                                     YUGALABS _00032546
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    1         26.   As RR/BAYC NFT sales increased, various NFT marketplaces took
   2    down listings of RR/BAYC NFTs. Defendants took it in stride and said it was good
   3 marketing for Ape Market.
   4          27.   Defendant Cahen informed me in the Team ApeMarket Discord chat
   5 that Defendants' attorney advised Defendants to change the skull logo, which was a
   6 Yuga Labs trademark, to defend against trademark infringement claims. I am not
   7    aware of any change Defendants made in response to this attorney's advice.
   8          28.   Defendant Cahen later said that allowing users to list RR/BAYC NFTs
   9 for sale on Ape Market while RR/BAYC NFTs were banned on other marketplaces
  1o could drive usage of Ape Market.
  11    IV.   DEFENDANTS' MARKETING AND PROMOTION OF RR/BAYC
  12          NFTS AND APE MARKET
  13          29.   Ripps instructed Hickman and me to reserve 500 RR/BAYC NFTs for
  14 him for the purpose of promoting RR/BAYC NFTs and Ape Market, such as
  15    through giveaways. When the word "shilling" was used in the Team ApeMarket
  16 Discord, I understood it to refer to promotion of the Business Venture.
  17          30.   Defendants also tried to promote RR/BAYC NFTs and Ape Market to
  18 current and potential BAYC owners. For example, Cahen proposed promoting Ape
  19 Market directly to the "Yuga Commnnity."
  20          31.   Ripps also proposed handing out coupon codes for RR/BAYC NFTs
  21    while attending Yuga Labs' June 2022 ApeFest event, and Cahen called it "fire",
  22    which I understood to mean that he thought it was a good idea. I understood
  23    ApeFest to be a widely publicized and popular event for Yuga attended by BAYC
  24 NFT holders and BAYC enthusiasts.
  25          32.   We intentionally promoted RR/BAYC NFTs during Yuga Labs'
  26    ApeFest to try to "mint out" (i.e., to sell) the remainder of the RR/BAYC NFTs.
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  28
         DECLARATION OF THOMAS LEHMAN            6            CASE NO. 2:22-CV-04355-JFW-JEM
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                                                                                 YUGALABS _0003254 7
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    1 V.               PROFITS AND ROYALTIES
    2                  33.                        In exchange for developing the RSVP Contract and rrbayc.com
    3   website for the Business Venture, I was to receive 15% of the combined revenue of
   4    the RR/BA YC mints with and without the RSVP Contract.

    5                  34.                        It is my understanding that Cahen and Hickman each received 15% of
    6   the combined revenue, as I did, and Ripps received the remaining 5 5% of the
    7   combined revenue from the sale of the mint of the RR/BAYC NFTs.
    8                  3 5.                       This distribution of revenue for this contract is reflected in the code for
    9 the RSVP Contract, as shown in the Etherscan screenshot below.

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                       36.                        It is my understanding that, as shown in the screenshot above, one of
   17
        Ryder Ripps' cryptocurrency wallet addresses is
   18
        0x592814FF14E030B51F6087032DB0f88F4214F254, one of Jeremy Cahen's
  19
        cryptocurrency wallet addresses is
  20
        0x7D2550161E8A3 lD0b9585Bb9c88E63E9644af740, and one of Ryan Hickman's
  21
        cryptocurrency wallet addresses is
  22
        0xF9C2Ba78aE44ba98888B0e9EB27EB63d576F261B.
  23
                       37.                        It is my understanding that at least Ripps also received royalties from
  24
        the re-sale of RR/BAYC NFTs through NFT marketplaces Foundation and
  25
        LooksRare. I have not received any of these royalties.
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        DECLARATION OF THOMAS LEHMAN                                                                                                   7     CASE NO. 2:22-CV-04355-JFW-JEM
                                                                                                                                                                     Exhibit 2
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    1         38.    Cahen proposed splitting revenue from Ape Market equally, so that
    2   each of us would receive 25% of Ape Market revenue. However, Ape Market was
    3   never launched, and I never received any revenue from it.
    4   VI.   EXIDBITS
    5         39.    Documents I produced to Fenwick & West LLP on October 19, 2022
    6   in a folder labeled "Discord Messages" are true and correct captures of messages
    7   sent and/or received by myself through the instant messaging social platform
    g   Discord. Representative copies of which are available at LEHMAN0000291-
    9   LEHMAN0000307. The list below identifies the individuals who, to the best of my
   1o knowledge and belief, are associated with each Discord usemame.
   11         •      "ryder ~ [#2044]" is Defendant Ryder Ripps
   12         •      "Pauly Shore[#6539]" is Defendant Jeremy Cahen
   13         •      ''middlemarch.eth[#6541]" is Thomas Lehman (myself)
   14         •      "hwonder [#9609]" is Ryan Hickman
   15         40.    Documents I produced to Fenwick & West LLP on October 17, 2022
   16   in a folder labeled "Email" are true and correct captures of emails sent and/or
   17   received through my email account tom.s.lehman@gmail.com. Representative
   18   copies of which are available at LEHMAN000000 1-LEHMAN0000002.
   19         41.    Documents I produced to Fenwick & West LLP on October 17, 2022
  20    in a folder labeled "Google Drive" are true and correct files obtained from my
  21    Google Drive account associated with my tom.s.lehman@gmail.com email.
  22    Representative copies of which are available at LEHMAN0000219-
  23    LEHMAN0000226,LEHMAN0000234,LEHMAN0000235,LEHMAN0000241-
  24    LEHMAN0000247,LEHMAN0000254-LEHMAN0000290.
  25          42.    Documents I produced to Fenwick & West LLP on October 17, 2022
  26    in a folder labeled "Local Files" are true and correct files obtained from my
  27    personal computer. Representative copies of which are available at
  28

        DECLARATION OF THOMAS LE1™AN              8             CASE NO. 2:22-CV-04355-JFW-JEM
                                                                                          Exhibit 2
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    1 LEHMAN0000227-LEHMAN0000233,LEHMAN0000236-LEHMAN0000240,
    2 LEHMAN0000248-LEHMAN0000253.
    3         43.    Documents I produced to Fenwick & West LLP on October 17, 2022
    4   in a folder labeled "Source Code" are true and correct source code files for the
    5 RSVP Contract, rrbayc.com, and apemarket.com. Representative copies of which
    6   are available at LEHMAN0000308.
    7         44.    Documents I produced to Fenwick & West LLP on October 17, 2022
    8 in a folder labeled "Telegram" are true and correct captures of messages sent and/or
    9 received by me through the instant messaging service Telegram. Representative
   1o copies of which are available at LEHMAN00003 l 4. The list below identifies the
   11   individuals who, to the best of my knowledge and belief, are associated with each
   12 Telegram usemame.
   13         •      "Ryder Ripps" is Defendant Ryder Ripps
   14         •      "Pauly Shore" is Defendant Jeremy Cahen
   15         •      "Tom" is Thomas Lehman (myself)
   16         •      "Hwonder" is Ryan Hickman
   17         •      "Arze" is Ezra Ripps
   18         45.    Documents I produced to Fenwick & West LLP on October 17, 2022
   19   in a folder labeled "Text Messages" are true and correct captures of text messages
   20   obtained from my personal cell phone. Representative copies of which are
   21   available at LEHMAN0000003-LEHMAN0000110. On December 21, 2022, I also
   22   produced to Fenwick & West LLP additional true and correct captures of text
   23   messages obtained from my personal cell phone. Representative copies of which
   24   are available at LEHMAN0000309-LEHMAN0000311 and LEHMAN0000312-
   25   LEHMAN0000313.
   26         46.    Documents I produced to Fenwick & West LLP on October 19, 2022
   27   in a folder labeled "Twitter Direct Messages" are true and correct captures of
   28   messages sent and/or received by me through the social media service Twitter.

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                                                                                         Exhibit 2
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                                                                                   YUGALABS _00032550
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    1   Representative copies of which are available at LEHMAN0000 111-
    2   LEHMAN0000218. The list below identifies the individuals who, to the best of my
    3   knowledge and belief, are associated with each Twitter usemame.
    4         •      "RYDER-RIPPS.ETH ~ (ryder_ripps)" is Defendant Ryder Ripps

    5         •     "PAULY~ (Pauly0x)" is Defendant Jeremy Cahen

    6         •     "middlemarch.eth ~ ( dumbnamenumbers) is Thomas Lehman

    7                (myself)

    8         •      "hwonder I axel foley I # (hWonderofWorld)" is Ryan Hickman

    9
              I declare under penalty of perjury and the laws of the United States that the
   10
        foregoing is true and correct. Executed on the th·   day of Fe
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        Dated: February 3, 2023
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        DECLARATl ON OF THOMAS LEHMAN            10             CASE NO . 2:22-CV-04355-JFW-JEM
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